             Case 3:09-cr-05452-RJB         Document 226         Filed 09/29/09    Page 1 of 2



 1                                                                         JUDGE BRYAN
 2                              UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON, AT TACOMA
 3

 4
     UNITED STATES OF AMERICA,                     )
                                                   )       NO.     CR09-5452RJB
 5           Plaintiff,                            )
                                                   )       ORDER FOR WITHDRAWAL AND
 6   vs.                                           )       SUBSTITUTION OF COUNSEL
                                                   )
 7   CRESCENCIANO YANEZ-BUCIO,                     )
                                                   )
 8         Defendant.                              )
     ____________________________________)
 9
             THIS MATTER having come on regularly before the above-entitled Court upon the Motion of the
10

11   Defendant, CRESCENCIANO YANEZ-BUCIO, for new appointed counsel, the Court having considered

12   the Defendant’s Motion and the Declaration of Counsel for the Defendant in support thereof, the Court

13   having reviewed the files and records of this proceeding and in all respects being fully advised, now,

14   therefore, it is hereby
15           ORDERED that the appointed attorney for CRESCENCIANO YANEZ-BUCIO, THOMAS A.
16
     CENA, JR., is hereby allowed to withdraw as counsel of record, effectively immediately. The CJA
17
     Administrator is directed to locate new counsel for said Defendant.
18
             DATED this 29th day of September, 2009.


                                           A
19

20

21                                         ROBERT J. BRYAN
                                           United States District Judge
22

23

24
     Order                                                                                THOMAS A. CENA, JR.
                                                                                                   Attorney at Law
25
                                                                                         2115 North 30th, Suite 201
                                                                                              Tacoma, WA 98403
                                                                               (253) 572-5120 Fax: (253) 593-4503
                                                                                 E-MAIL: TomC55@nventure.com
             Case 3:09-cr-05452-RJB      Document 226   Filed 09/29/09   Page 2 of 2



 1
     Presented by
 2
     /s/ Thomas A. Cena, Jr.
 3
     _________________________________________
 4
     THOMAS A. CENA, JR., WSBA NO. 6539
     Attorney for Defendant, Crescenciano Yanez-Bucio
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24
     Order                                                                      THOMAS A. CENA, JR.
                                                                                         Attorney at Law
25
                                                                               2115 North 30th, Suite 201
                                                                                    Tacoma, WA 98403
                                                                     (253) 572-5120 Fax: (253) 593-4503
                                                                       E-MAIL: TomC55@nventure.com
